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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


MICHAEL R. MCNEIL,

                   Plaintiff,

v.                                           Case No: 6:22-cv-2427-PGB-DAB

VENRA HOLDINGS LLC and
CORNERSTONE FOODS LLC,

                   Defendants.
                                     /

                                     ORDER

       This cause is before the Court on the parties’ Joint Stipulation of Dismissal

With Prejudice, filed February 23, 2023. (Doc. 23). The stipulation of dismissal is

self-executing pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). See

Anago Franchising, Inc. v. Shaz, 677 F.3d 1272, 1278 (11th Cir. 2012). Plaintiff’s

claims against Defendants Venra Holdings and Cornerstone Foods, LLC are

DISMISSED WITH PREJUDICE. The Clerk of Court is DIRECTED to close

the file.

       DONE AND ORDERED in Orlando, Florida on February 24, 2023.
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Copies furnished to:

Counsel of Record
Unrepresented Parties




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